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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.          2:20-cv-05526-SVW-SHK                                         Date   October 19, 2021
 Title             Athena Cosmetics, Inc. v. AMN Distribution Inc. et al




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                            Katie Thibodeaux
                 Deputy Clerk                        Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                       Michael D. Harris                                      David C. Voss
 Proceedings:                 [97] MOTION for Summary Judgment as to Plaintiff's First Amended
                              Complaint filed by defendants; and
                              [99] MOTION to Bifurcate Discovery filed by defendants

         Hearing held. The motion for summary judgment is DENIED.




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                                                               Initials of Preparer           PMC
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